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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:03-cr-00055-MP-AK

RAYMOND LOZANO, JR.,

      Defendant.
________________________________/

                                            ORDER

       This matter is before the Court on Doc. 65, Report and Recommendation of the

Magistrate Judge, which recommends that Defendant’s Motion to Vacate under 28 U.S.C. §

2255, Doc. 62, be denied. The Magistrate Judge filed the Report and Recommendation on

Friday, August 3, 2007. The parties have been furnished a copy of the Report and have been

afforded an opportunity to file objections. Pursuant to Title 28, United States Code, Section

636(b)(1), this Court must make a de novo review of those portions to which an objection has

been made. In this instance, however, no objections were filed.

       Defendant pled guilty to conspiracy to possess with intent to distribute five hundred

grams or more of methamphetamine, and was sentenced to 240 months imprisonment. In his

motion to vacate, Defendant raises four grounds for relief based largely on Booker, and alleges

that trial counsel provided ineffective assistance by failing to raise these four grounds. After

reviewing the Magistrate’s Report, the Court agrees with the Magistrate that because Defendant

received a mandatory minimum sentence pursuant to 21 U.S.C. § 841(b)(1)(A), none of

Defendant’s claims have merit, and the motion to vacate should be denied. Therefore, having

considered the Report and Recommendation, and the lack of objections thereto, I have

determined that it should be adopted. Accordingly, it is hereby
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        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       Defendant’s Motion to Vacate, Doc. 62, is DENIED.

        DONE AND ORDERED this           5th day of September, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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